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UNITED STATES DISTRICT COURT PORTO ~F PHI LS
WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
UNITED STATES OF AMERICA, Of
Plaintiff, No. 1 . 0 6 CR 0 2 9 9
H Robert Holmes Bell
V. on. : ~~
Chief, U.S. District Judge
KENNETH DEAN VANDENBERG, INDICTMENT
Defendant.
/
The Grand Jury charges:
COUNT ONE

On or about May 16 and 17, 2002, in Kent County, in the Southern Division of the

Western District of Michigan,

KENNETH DEAN VANDENBERG
did knowingly and unlawfully structure a transaction with Huntington Bank, a domestic financial
institution, by conducting at least two of the following transactions:

a. on or about May 16, 2002, one withdrawal of $9,000 in currency from the Breton
Village branch, and two withdrawals of $8,000 in currency each from the Kenton branch and the
Fuller branch of said bank;

b. on or about May 17, 2002, five withdrawals of $9,000, $8,000, $6,000, $6,000

and $5,000 in currency from the Breton Village branch, the Chateau Office branch, the 44th
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Street Office branch, the Remembrance Office branch, and the Alpine Office branch of said bank
respectively;

for the purpose of evading the reporting requirements under 31 Code of Federal Regulations,
Section 103.22(b).

31 U.S.C. § 5324(a)(3)

31 C.F.R. § 103.22(b)
31 C.F.R. § 103.11(gg)
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COUNT TWO
On or about May 22, 2002, in Kent County, in the Southern Division of the Western
District of Michigan and elsewhere,
KENNETH DEAN VANDENBERG
did, with the intent to evade a currency reporting requirement under Title 31 United States Code,
Section 5316, knowingly and unlawfully conceal more than $10,000 in United States currency on
his person and attempt to transport such currency from a place within the United States to a place

outside the United States, that is, from Grand Rapids, Michigan, to the Netherlands.

31 U.S.C. § 5332
31 U.S.C. § 5316

A TRUE BILL

GRA Y FOREPERSON

MARGARET M. CHIARA
United States Attorney

RICHARD S. Tt URRAY
Assistant United S torney
